                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION

                                   DOCKET NO. 5:10CR2-RLV


UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )             MONEY JUDGMENT AND
                                                 )             PRELIMINARY ORDER OF
(1) TAMATHA M. HILTON,                           )                  FORFEITURE
(2) JIMMY EARL HILTON,                           )
(3) JACQUELINE H. HILTON.                        )

       THIS MATTER is before the Court on the Government’s Motion for Money Judgment

and Preliminary Order of Forfeiture.

       THIS COURT FINDS AS FOLLOWS:

       1.      In the Second Superseding Bill of Indictment (Dkt. 39) in this case, the United

States provided notice that property was subject to forfeiture pursuant to 18 U.S.C. §§ 981, 982,

and 1028, 21 U.S.C. § 853, and/or 28 U.S.C. § 2461(c).

       2.      After trial of this matter, a jury returned verdicts (Dkts. 93, 94, and 95) finding all

defendants guilty of, amongst other violations, the Section 371 conspiracy charged in Count One

and the money laundering conspiracy charged in Count Thirty-Six. The jury also returned a

Special Verdict (Dkt. 96) as to forfeiture. The Special Verdict reflected a finding, based on the

evidence admitted at trial, that $655,000 and the specific real properties at 2420 Central Drive,

Lenoir, North Carolina and 5940 Melrose Lane, Granite Falls, North Carolina, and the timeshare

at Wyndham Vacation Resorts constituted the proceeds of the Count One conspiracy1 and

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         As reflected in the language of section one of the Special Verdict, the forfeiture action based
on Count One only pertains to the conspiracy to pass forged securities, make false statements to a
financial institution, commit identity theft, commit mail fraud, and commit mail theft, and not to the
conspiracy to commit aggravated identity theft.


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property involved in the Count Thirty-Six money laundering conspiracy.

       3.      For purposes of Fed. R. Crim. P. 32.2 and based on the evidence admitted at trial,

the verdicts of guilt, and the Special Verdict, the Government has established the amount of

money judgment and the requisite nexus between the properties identified herein and offenses.

       IT IS THEREFORE ORDERED that, based upon the Second Superseding Bill of

Indictment, Jury Verdict, Special Verdict and evidence admitted at trial, and 18 U.S.C. §§ 981

and 982, 21 U.S.C. § 853, and 28 U.S.C. § 2461(c), this Order shall constitute a final money

judgment for the following property:

       All currency and monetary instruments constituting or derived from proceeds
       traceable to the Section 371 conspiracy to pass forged securities, make false
       statements to a financial institution, commit identity theft, commit mail fraud, and
       commit mail theft, and constituting or derived from property involved in the Section
       1956 money laundering conspiracy, such proceeds and involved in property
       including the sum of $655,000.

In addition, this Order shall constitute a Preliminary Order of Forfeiture for the following

specifically identified properties:

       Real Property at 2420 Central Drive, Lenoir, North Carolina, more particularly
       described in a deed recorded at Book 1176, Page 677, in the Caldwell County Public
       Registry;

       Real Property at 5940 Melrose Lane, Granite Falls, North Carolina, more
       particularly described in a deed recorded at Book 1648, Page 1158, in the Caldwell
       County Public Registry; and

       A timeshare interest in Wyndham Vacation Resorts, Inc. F.K.A. Fairfield Resorts,
       Inc., also known as Wyndham Vacation Ownership, Inc., with addresses of P.O. Box
       96204 Las Vegas, Nevada 89193-6204 and 8427 SouthPark Circle, Orlando, Florida
       32819.

       The United States Postal Inspection Service, United States Secret Service, United States

Marshals Service, and/or other property custodian for the investigative agency is authorized to


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seize, enter onto, and maintain possession of all specifically identified properties herein. The

Government shall provide notice of this Order in accordance with 21 U.S.C. § 853(n)(2) and

other applicable law that any person, other than the defendants, asserting a legal interest in

property which has been ordered forfeited to the United States may, within thirty days of the final

publication of notice or receipt of notice, whichever is earlier, petition the Court for a hearing to

adjudicate the validity of his or her alleged interest in the property. To the extent that this Order

constitutes a preliminary order of forfeiture of specific properties, upon adjudication of all third-

party interests, this Court will enter a final order and judgment of forfeiture.




                                                  Signed: November 19, 2010




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